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                                               No. 25-2028

                                                 IN THE
                 United States Court of Appeals for the Ninth Circuit
                                           ASHLEY M. GJOVIK,
                                                        Plaintiff-Appellant,
                                                  v.
                                               APPLE INC.,
                                                         Defendant-Appellee.

                          On Appeal from the United States District Court
                               for the Northern District of California
                          No. 3:23-cv-04597-EMC, Hon. Edward M. Chen

                        DEFENDANT-APPELLEE APPLE INC.’S
               OPPOSED MOTION FOR EXTENSION OF TIME TO RESPOND
               TO APPELLANT’S MOTION FOR INJUNCTION, DKT. 15.1, TO
              STRIKE, AND TO COMPEL SERVICE OF SEALED MATERIALS.

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                           CORPORATE DISCLOSURE STATEMENT

                    Pursuant to Federal Rule of Appellate Procedure 26.1, Apple Inc.

             states that it has no parent corporation and there is no publicly held

             company that owns 10% or more of its stock.




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                                          INTRODUCTION

                    Pursuant to Federal Rule of Appellate Procedure 26(b),

             Defendant-Appellee Apple Inc. respectfully submits this opposed 1

             motion for an extension of the deadline to file its response to Appellant

             Ashley Gjovik’s Motion for Injunction and to strike the late-filed

             declarations and exhibits submitted by Appellant in support of her

             motion. Apple’s response is currently due Monday May 19, 2025. As

             detailed below, Ms. Gjovik’s filing has consisted of a continuing stream

             of additional material; she submitted at least 75 pages of additional

             briefing (in the form of purported “declarations”) supporting her motion,

             without authorization, as well as over 700 pages of exhibits, one week

             before Apple’s deadline to respond. The same evening, Ms. Gjovik filed

             additional declarations and exhibits under seal but refuses to serve

             copies on Apple. The next day she submitted another 200+ pages of

             exhibits, including among other things a newly filed motion in the

             district court asserting some of the same bases she urges in her Motion.



             1 Apple attempted to confer with Appellant, but after several rounds of

             communication, Apple has been unable to obtain a yes-or-no position on
             the relief Apple requests, and therefore treats this motion as opposed.
             Riechert Decl. ¶ 14. However, Apple understands that Appellant
             objects to any statement that she “opposes” the motion. Id.

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                    If this Court does not strike Ms. Gjovik’s filings based on multiple

             violations of this Court’s Rules, Apple will need both access to Ms.

             Gjovik’s sealed filings and significant additional time (and likely space)

             to respond to her belated argument and evidence. A 30-day extension—

             to June 16, 2025—would provide a reasonable time for Apple’s response,

             assuming Ms. Gjovik provides prompt access to the sealed materials.

                    This request is based on the declaration of Melinda S. Riechert

             attached hereto, and is Apple’s first request for extension.

                                           BACKGROUND

                    This appeal concerns Ms. Gjovik’s second attempt in a year to

             challenge a non-final order dismissing some, but not all, of her claims in

             the district court. Accordingly, Apple filed a motion seeking dismissal

             of this appeal. Dkt. 5.1.2 Although Apple’s motion automatically stayed

             the briefing schedule in this appeal under 9th Cir. Rule 27-11(a)(1),

             Apple also sought, in the alternative, a stay of briefing pending a

             decision on Ms. Gjovik’s then-pending Rule 54(b) motion in the district




             2 Within this motion, references to “Dkt.__” are to this Court’s docket for

             the present appeal, No. 25-2028. References to “ECF __” are to entries
             on the district court docket for this case, N.D. Cal. No. 3:23-cv-04597-
             EMC.

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             court. See Dkt. 5.1 at 1 n.2, 17-19; Dkt. 7.1. The district court denied

             the Rule 54(b) motion on the same day Apple’s reply in support of its

             motion to dismiss was due, mooting the stay request but leaving the

             request for dismissal unaffected. Dkt. 12.1 at 1-4, 10. Despite the

             automatic schedule suspension, Ms. Gjovik chose to file an opening brief

             on May 6, 2025, and Excerpts of the Record on May 9, 2025. Dkt. 13.1,

             17.1-7.

                    On May 7, 2025, Ms. Gjovik filed a document entitled “Motion for

             Injunction.” Dkt. 15.1 (“Motion”). Apple’s response to the Motion is due

             10 days after the Motion itself unless this Court extends that time.

             Fed. R. App. P. 27(a)(3)(A). After accounting for the weekend, Apple’s

             response is due on Monday, May 19, 2025. See Fed. R. App. P. 26(a)(1).

                    Despite its title, the Motion does not merely request an injunction.

             It appears to request, in addition to a “preliminary injunction,” that this

             Court “reverse” interlocutory rulings of the district court, impose a

             protective order and other discovery orders (including, for example,

             “bar[ring] any discovery that seeks to reframe, reduce, or deny the

             nature of Gjovik’s trauma”), stay all proceedings in the district court

             pending appeal, “[r]estore the status quo ante as it existed immediately



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             prior to the commencement of discovery,” and refer Apple for criminal

             investigation. Mot. 11, 19-20; see generally Mot. The Motion appears to

             rely on an equally broad range of supposed authorization for these

             requests, including among others the Racketeer Influenced and Corrupt

             Organizations Act (RICO), the Crime Victims’ Rights Act (CVRA),

             Marsy’s Law (Cal. Const. Art. I, § 28), and allegations of witness

             tampering in violation of 18 U.S.C. §§ 1512-1513. See Mot. 1.

                    Ms. Gjovik did not file any supporting exhibits or a declaration

             with her Motion, nor does it cite to any exhibits. The Motion does

             assert that the motion “will be concurrently filed with the Experts from

             the Record [sic], a Request for Judicial Notice, and a Declaration” but

             also asserts that Ms. Gjovik was “targeting all by 5/8.” Mot. 1.

             Regardless, Ms. Gjovik did not file any supporting materials on May 8.

                    Instead, on May 12, 2025—five days into Apple’s 10-day period to

             respond to the motion—Ms. Gjovik filed a pair of “declarations”

             purportedly supporting her Motion. The first, which contains

             approximately 54 substantive pages, is entitled “Appellant’s

             Declaration I.” Dkt. 19.2. The second contains another 21 substantive

             pages and is entitled “Appellant’s Declaration II: Success and Balancing



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             of Equities.” As the latter title suggests, both “declarations” include

             significant amounts of argument and legal conclusions scattered

             throughout their pages. See, e.g., Dkt. 19.2 at 12-13 (arguments

             concerning Apple’s privilege log), 18 (arguments concerning discovery

             rules and opposing the district court’s model protective order), 25-26

             (arguments concerning Apple’s defenses to certain claims), 27 (arguing

             that the district court “essentially approve [sic] the corporate tactic of

             witness intimidation”), 31-32 (arguments about alleged predicate acts

             for her dismissed RICO claim), 33 (alleging retaliation under the

             NLRA), 49 (arguments about the propriety of Rule 12 motions in the

             district court); Dkt. 19.1 at 3 (acknowledging that Declaration II “is

             submitted … to address the likelihood that Appellants [sic] will succeed

             on the merits of their [sic] claims”), 5 (arguments about alleged

             “causation and agency reliance” on her EPA reports), 7 (further

             arguments about Apple’s privilege log), 9-11 (arguments about alleged

             retaliatory motive and corroboration); 11-13 (legal conclusions about

             victim status under CVRA); 16-17 (arguing judicial conflicts and due

             process violations in connection with a separate state proceeding in

             Washington); 17-21 (arguments about regulatory capture).



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                    In addition, the declarations include allegations of which Ms.

             Gjovik does not even claim to have personal knowledge. See, e.g., Dkt.

             19.2 at 43 (“I believe [an app] likely captured many other intimate

             images of me”), 57 (“I believe Apple’s lawyers used some sort of jammer

             in the US District Court” to disrupt her attendance at a Zoom hearing);

             Dkt. 19.1 at 15, 19-20 (alleging that a certain EEOC official “likely

             handled [her] complaint”).

                    Neither declaration claims to authenticate any documents, yet Ms.

             Gjovik filed over 700 pages of exhibits with them. See generally Dkt.

             19.1-19.3.

                    On the evening of May 12, 2025, Ms. Gjovik also filed, under seal,

             what she described to counsel as a different version of her declaration,

             along with 11 additional exhibits and a motion to seal. Dkt. 20; Ex. 3 at

             2-3. Ms. Gjovik did not seek Apple’s position on sealing prior to filing,

             and did not serve either her sealed declaration or her exhibits on Apple.

             Riechert Decl. ¶ 8. When Apple’s counsel pointed out this Court’s rules

             requiring service, Ms. Gjovik insisted she was not required to provide

             her sealed declaration or exhibits to Apple. Ex. 3 at 1-2. As of this




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             writing, Apple still does not know the contents of Ms. Gjovik’s sealed

             filings, or how large they might be. Riechert Decl. ¶ 8.

                    On the evening of May 13, Ms. Gjovik filed a purported

             “supplement,” consisting of over 200 additional pages of exhibits that

             Ms. Gjovik represents are material to her Motion for Injunction. Dkt.

             21.1. In addition to a cover document asserting that the exhibits

             “underscore the irreparable harm and chilling effect” she asserts in her

             Motion here, Dkt. 21.1 includes at least the following:

                       • Ms. Gjovik’s 24-page “motion to quash” discovery orders in
                         the district court, including the district court’s directive to
                         confer on a protective order and submit related disputes to a
                         magistrate judge through a joint discovery letter. Dkt. 21.1
                         at 6-35.3

                       • A newly-filed NLRB complaint dated May 13, 2025, alleging
                         among other things that Apple’s discovery requests in the
                         district court litigation and its request for entry of the
                         district court’s model protective order constitute retaliation.
                         Dkt. 21.1 at 38-57.

                       • An email chain in which, among other things, Ms. Gjovik
                         characterizes Apple’s counsel’s efforts to finalize the joint
                         discovery letter as directed by the district court as “threats,”
                         “witness intimidation,” and “retaliation.” Dkt. 21.1 at 59-
                         141.




             3 The district court denied the motion to quash sua sponte the next day

             as “clearly lack[ing] merit.” ECF 213 at 1.

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                       • The discovery dispute letter Apple attempted to finalize for
                         submission to the magistrate judge, along with the parties’
                         exhibits. Dkt. 21.1 at 143-202.

                                               ARGUMENT

                    A motion to this court is required to present its legal arguments

             and conclusions in a single paper of a limited length, accompanied by

             supporting evidence filed at the same time. Yet Ms. Gjovik withheld

             her supporting exhibits for most of a week, laced her belated

             submissions with several times the permitted amount of legal argument

             and conclusions, and even now refuses to serve some of her supporting

             materials on Apple at all. In short, Ms. Gjovik’s filings shatter this

             Court’s rules, making it impossible to properly respond to the Motion

             within the ordinary ten-day limit. Furthermore, the wide-ranging and

             eclectic nature of Ms. Gjovik’s asserted bases for relief, coupled with her

             practice of incomplete or inaccurate citation and reliance on nonexistent

             authority, necessitates additional time to evaluate and respond.




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                    The violations of this Court’s rules would justify striking Ms.

             Gjovik’s late-filed additional briefing and supporting materials

             entirely. 4 At the least, an extension to Apple’s deadline is appropriate.

             I.     Ms. Gjovik’s Filings Are Procedurally Improper and Should
                    be Stricken.

                    A.      Ms. Gjovik’s late filings and refusal to serve sealed
                            materials deprives Apple of adequate time to respond.

                    “Any paper or affidavit necessary to support a motion must be

             served and filed with the motion.” Fed. R. App. P. 27(a)(2)(B)(1). This

             requirement applies equally to sealed materials. 9th Cir. R. 27-13(c)

             (“Because documents submitted under seal will not be viewable to the

             parties … [they] shall be served on opposing counsel in paper form or,

             with consent, via email.”). As a result, Ms. Gjovik was required to

             provide factual declarations and exhibits to this Court and to Apple

             when she filed and served her Motion on May 7, 2025.

                    However, Ms. Gjovik did not do so. Instead, she filed 75 pages of

             unsealed declarations and over 700 pages of unsealed exhibits on May




             4 This Court may strike materials filed in violation of court rules.See,
             e.g., N/S Corp. v. Liberty Mut. Ins. Co., 127 F.3d 1145 (9th Cir. 1997).
             Apple reserves the right to move this Court to strike these materials in
             its opposition or a separate motion, once its analysis is complete.

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             12, halfway through Apple’s 10-day response period. Supra 4-6. Ms.

             Gjovik also filed an unknown (to Apple) number of pages of sealed

             declarations and exhibits the same day, and she still refuses to serve or

             provide copies to Apple as of this writing, despite Apple’s express

             consent to service via email. Supra 6; Ex. 3 at 1-2. Ms. Gjovik filed

             another 200 pages of supporting materials, including a 24-page

             argumentative filing, on May 13. Supra 7.

                    Even if she files no further supplements, Ms. Gjovik has already

             unilaterally deprived Apple of at least half of the already-short 10-day

             period allowed for its response to her Motion. And she appears poised

             to deprive Apple of any access to her sealed materials prior to Apple’s

             current deadline. Under such circumstances, it is impossible for Apple

             to fully respond to all of Ms. Gjovik’s materials, and unreasonable to

             expect Apple to respond to even the unsealed portions in less than a

             week.5 An extension is warranted, at minimum.




             5 For similar reasons, Ms. Gjovik’s late filings which justify this

             extension request made it impossible to present the request at an
             earlier time.

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                    B.      Even if they had been timely, Ms. Gjovik’s
                            declarations improperly inject at least 75 pages of
                            additional briefing concerning her Motion.

                    Ms. Gjovik’s supporting filings are also improper because they are

             not exclusively factual, but are instead laced with legal arguments,

             purported authorities, and conclusions. As a result, they far exceed the

             amount of briefing permitted on the Motion without this court’s

             permission.

                    The rules are clear. An affidavit supporting a motion “must

             contain only factual material, not legal argument.” Fed. R. App. P.

             27(a)(1)(B)(2) (emphasis added). The Rules also expressly prohibit

             filing separate briefing supporting a motion. Fed. R. App. P.

             27(a)(2)(C)(1).

                    Here, Ms. Gjovik’s filings violate both rules. For example, Ms.

             Gjovik’s Declaration I includes a host of legal arguments and

             conclusions, ranging from attacks on the district court’s model

             protective order, to analysis of Apple’s legal defenses, to attacks on the

             propriety of Rule 12 motions. Supra 4-5. Similarly, Declaration II is

             largely devoted to legal arguments concerning, among other things, Ms.

             Gjovik’s perceived likelihood of success in her main appeal, her asserted



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             victim status under federal and state law, alleged judicial conflicts of

             interest, due process concerns, and regulatory capture. Supra 5. Thus,

             neither declaration is confined to factual material as required; both

             amount to lengthy additional briefing allegedly supporting the Motion,

             provided in separate papers and amounting to several times the

             permitted length of a motion.

                    Even Ms. Gjovik’s initial Motion exceeds the permissible length of

             a motion on its own. Although nominally confined to 20 pages, the

             Motion is not double-spaced as required by this Court’s Rules. Fed. R.

             App. P. 27(d)(1)(D) (motions “must be double-spaced”). Counsel

             estimates that the Motion contains at least 1000 words more than

             permitted for a motion under the page/word count conversion rule. See

             9th Cir. R. 27-1(1)(d), 32-3(2) (allowing 280 words per page); Riechert

             Decl. ¶ 3 (estimating that the Motion contains over 6700 words). Ms.

             Gjovik cannot credibly claim to be unaware of her responsibility to

             adhere to page and formatting limits: the district court has already

             struck one of her pleadings as a result of similar gamesmanship and

             directly admonished Ms. Gjovik in connection with a separate filing




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             that the court’s “rules are going to be enforced.” Riechert Decl. ¶ 4; ECF

             137, Ex. 1; Tr. of Feb. 21, 2025 Hr’g at 26:14-27:12, Ex. 2.

                    Taken together, Ms. Gjovik’s Motion and “declarations” amount to

             nearly 100 pages of briefing—approximately four to five times the 20-

             page limit under this Court’s rules—without accounting for the sealed

             materials that Ms. Gjovik refuses to provide to Apple. See 9th Cir. R.

             27-1(1)(d). Ms. Gjovik’s subsequent submission of her now-denied

             district court motion adds another 24 pages of argument that overlaps

             the same issues and raises new ones. Supra 7.

             II.    Responding To Ms. Gjovik’s Improperly Overlong Motion
                    Will Require Substantial Additional Time.

                    If this Court does not strike Ms. Gjovik’s belated filings for the

             reasons noted above, their sheer volume will require Apple to devote

             substantial additional time to responding to the Motion. As detailed

             above, the Motion and Ms. Gjovik’s purported declarations contain

             approximately four to five times the permitted pages of briefing and

             assert an unusually wide variety of alleged factual and legal bases for

             relief. Supra 9-12. Responding to such lengthy and convoluted

             argument in less than a week is at best extremely challenging, and it is

             impossible for Apple to respond to the sealed materials that Ms. Gjovik


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             continues to withhold. Riechert Decl. ¶ 11. At the least, an extension is

             needed to permit Apple to analyze and respond to the portions of Ms.

             Gjovik’s materials that it can even see.

                    These challenges are exacerbated by Ms. Gjovik’s continuing

             practice of offering this Court incomplete citations, or worse, citing

             entirely nonexistent authority. As Apple pointed out in prior filings,

             Ms. Gjovik had already submitted fictitious authority and

             misrepresented the contents of cases to this Court in her initial spate of

             motions. See Dkt. 6.1 at 8-10; cf. Dkt. 12.1 at 6 n.3 (noting supra

             citations to otherwise unidentified sources). The Motion continues this

             practice. As one example, the Motion cites “United States v. Nichols,

             504 F.3d 1221 (9th Cir. 2007)” as support for Ms. Gjovik’s contentions

             concerning the CVRA. Mot. at 6. However, that citation in fact leads to

             Scarbrough v. Bd. of Trs. Fla. A&M Univ., an Eleventh-Circuit case

             concerning Title VII of the Civil Rights Act of 1964 that does not discuss

             crime victims or the CVRA at all. Other examples of inaccurate or

             incomplete citations include the Motion’s references to “Kaiser

             Foundation Health Plan, Inc. v. The California Nurses Association (9th

             Cir. 2005)” with no citation whatsoever, Mot. at 10, and to “In re Grand



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             Jury Subpoenas Dated March 2, 2015, 816 F.3d 1179 (9th Cir. 2016),”

             Mot. at 14, which in fact leads to the middle of Beaver v. Tarsadia

             Hotels, 816 F.3d 1170 (9th Cir. 2016). The need to locate accurate

             citations, if any such exist, complicates any analysis and response to

             Ms. Gjovik’s arguments and therefore requires additional time.

                                              CONCLUSION

                    Apple respectfully requests that this Court either strike the filings

             purporting to supplement the Motion (Dkt. 19, 20, 21) entirely or grant

             a 30-day extension—to June 16, 2025—of Apple’s deadline to file its

             opposition to Ms. Gjovik’s Motion for Injunction and direct Ms. Gjovik to

             immediately provide access to her sealed filings in support of the

             Motion.




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              May 14, 2025                           Respectfully submitted,

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                                  CERTIFICATE OF COMPLIANCE

                    1. Pursuant to Fed. R. App. 32(g), this motion complies with the

             type-volume limitation of 9th Cir. R. 27-1, because this motion contains

             15 pages, excluding the parts of the motion exempted by 9th Cir. R. 27-

             1.

                    2. This motion complies with the typeface requirements of Fed. R.

             App. P. 32(a)(5) and the type-style requirements of Fed. R. App.

             P. 32(a)(6) because it has been prepared in a proportionally spaced

             typeface using Microsoft Word 365 in Century Schoolbook 14-point font.

                                                ORRICK, HERRINGTON & SUTCLIFFE LLP

                                                /s/ Melinda S. Riechert
                                                Melinda S. Riechert
                                                Counsel for Defendant-Appellee
